  Case: 1:13-cr-00025-SJD Doc #: 620 Filed: 08/08/16 Page: 1 of 4 PAGEID #: 2207




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                   WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA,

                            Plaintiff,             :      Case No. 1:13-cr-025


                                                          District Judge Susan J. Dlott
       -   vs   -                                         Magistrate Judge Michael R. Merz

BRIEN CHAMPION,


                            Defendant.             :



                     REPORT AND RECOMMENDATIONS


       This § 2255 case is before the Court on four filings by Defendant, who is proceeding pro

se in this case: (1) Objections to the Magistrate Judge’s Report and Recommendations (ECF No.

606) recommending the § 2255 Motion be dismissed with prejudice (ECF No. 616); (2) a Motion

for Clarification (ECF No. 617); (3) a Motion to Alter the Judgment (ECF No. 618); and (4) a

Declaration in Support (ECF No. 619).



Clarification



       Defendant’s pro se Motion for Retroactive Application of Sentencing Guidelines on

Crack Cocaine under 18 U.S.C. § 3582 (ECF No. 595) has never been referred to the United

States Magistrate Judge and remains pending before Judge Dlott. Nothing that has been filed in

                                              1
    Case: 1:13-cr-00025-SJD Doc #: 620 Filed: 08/08/16 Page: 2 of 4 PAGEID #: 2208




this case since Defendant Champion filed his Motion to Vacate on May 27, 2016, has any impact

on that Motion.



Motion to Alter Judgment



        On July 7, 2016, District Judge Dlott adopted the Magistrate Judge’s recommendation

that Mr. Champion’s § 2255 Motion be dismissed with prejudice (ECF No. 609). The stated

reason was that Champion had filed no objections and the time for objecting had expired. Id.

After judgment was entered, Champion filed a Motion for Full Extension of Time to object,

asking for sixty days (ECF No. 612, PageID 2185). The Magistrate Judge denied that Motion

because the time had already expired (Notation Order of July 14, 2016). Champion sought

reconsideration on the grounds he had timely filed his request for extension but the Clerk had

returned it because it was not signed (ECF No. 614). The Magistrate Judge advised Champion

that the time for objections could not be reopened because a judgment had been filed in the case,

but offered him the option of raising the merits of his objections in a motion to alter or amend the

judgment filed by August 4, 2016 (Notice, ECF No. 615). The Motions now before the Court

followed.1

        The standard for granting a motion to alter or amend the judgment is well established.

                 Motions to alter or amend judgment may be granted if there is a
                 clear error of law, see Sault Ste. Marie Tribe, 146 F.3d at 374,
                 newly discovered evidence, see id., an intervening change in
                 controlling law, Collison v. International Chem. Workers Union,
                 Local 217, 34 F.3d 233, 236 (4th Cir. 1994); Hayes v. Douglas

1
  The Motions were received by the Clerk on August 5, 2016. Because Mr. Champion is incarcerated, he is entitled
to the “mailbox rule” of Houston v. Lack, 487 U.S. 266 (1988). The papers includes no declaration of when they
were deposited in the prison mail system, but, since they were received on August 5, 2016, the Court infers they
were mailed no later than August 4th, making them timely.

                                                       2
  Case: 1:13-cr-00025-SJD Doc #: 620 Filed: 08/08/16 Page: 3 of 4 PAGEID #: 2209




              Dynamics, Inc., 8 F.3d 88, 90-91 n.3 (1st Cir. 1993); School
              District No. 1J v. ACANDS, Inc., 5 F.3d 1255, 1263 (9th Cir.
              1993), or to prevent manifest injustice. Davis, 912 F.2d at 133;
              Collison, 34 F.3d at 236; Hayes, 8 F.3d at 90-91 n.3. See also
              North River Ins. Co. v. Cigna Reinsurance Co., 52 F.3d 1194, 1218
              (3d Cir. 1995).

              To constitute "newly discovered evidence," the evidence must
              have been previously unavailable. See ACandS, 5 F.3d at 1263;
              Javetz v. Board of Control, Grand Valley State Univ. 903 F. Supp.
              1181, 1191 (W.D. Mich. 1995)(and cases cited therein); Charles A.
              Wright, 11 Federal Practice and Procedure § 2810.1 at 127-28
              (1995).

Gencorp, Inc. v. American Int'l Underwriters, 178 F.3d 804, 834 (6th Cir. 1999).


       As he did in his § 2255 Motion when filed, Mr. Champion claims he did not understand

what a conspiracy was or the appeal waiver he entered into because his attorney never explained

it to him. He claims that if had he understood, he would never have pleaded guilty because “I

had no knowledge of being in a conspiracy.” (Declaration, ECF No. 619, PageID 2204). He

supports his position with an undated excerpt from a letter to Judge Dlott which was evidently

written before sentence was imposed. Id. at PageID 2205-06.

       Champion’s Motion presents no new evidence and does not show the Court committed

any error of law in adopting the Report and Recommendations. As the Report notes, the claims

of lack of understanding in the § 2255 Motion which are repeated in the Motion to Alter the

Judgment are completely at odds with what Champion swore to before Judge Dlott in the plea

colloquy hearing.




                                               3
  Case: 1:13-cr-00025-SJD Doc #: 620 Filed: 08/08/16 Page: 4 of 4 PAGEID #: 2210




       Champion’s Motion to Alter the Judgment is without merit and should be denied.



August 8, 2016.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge


                           NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




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